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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                         Crim. Action No.: 22CR412

SCOTT MILLER,

                    Defendant.



             SCOTT MILLER’S MOTION FOR MODIFICATION TO
                       CONDITONS OF RELEASE

      Scott Miller, through counsel, respectfully submits this Motion to modify

conditions of pre-trial release. He moves to modify conditions to permit the following

1) permission to attend prenatal visits with his wife, Angela Ware and 2) to work as

needed on his neighbor’s property. In support of this Motion, counsel states:

                                       Background

      Mr. Miller is before the Court charged by Indictment with various offenses

arising out of the events at the Capitol on January 6, 2021.

      On December 30, 2022, the Honorable Moxila A. Upadhyaya released Mr.

Miller to home incarceration. The Order setting conditions of release permits Mr.

Miller to “leave his residence to go work at NVR incorporated.” If the defendant is no

longer employed at NVR Incorporated, the defendant must seek permission from the

Court to seek other employment and/ or attend job interviews.” ECF. No. 19. The

Order is silent as to whether Mr. Miller is permitted to attend medical appointments.
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Mr. Millers has been fully compliant with the Order, which sets strict conditions,

since his release on December 30, 2022.

      1. Request as to pre-natal appointments

      Subsequent to his arrest in this case, Mr. Miller and his wife, Angela, learned

that Angela is pregnant. She had first neonatal visit the week of February 27, 2023,

and will need to go back every three months or so until she is close to her due date.

Mr. Miller would like to attend these appointments with her. If permitted by the

Court, he is prepared to provide the Probation Officer advance notice of the

appointment as well as the location of the appointment.

      2. Request as to employment

      Prior to his arrest in this case, Mr. Miller worked at a homebuilding company,

NVR incorporated. He lost his job due to his arrest. Therefore, in light of the Order

only permitting him to go to work at NVR, he has been unemployed since his arrest.

Mr. Miller’s neighbor, Christopher Leyla, would like Mr. Miller to work on his 20-acre

property on projects such as wall construction, land clearing, and tree felling. Mr.

Leyla’s letter is attached as Exhibit 1. 1 This work opportunity would provide Mr.

Miller an opportunity to get outside and get fresh air, earn modest income, and

generally be productive. He proposes that if permitted by the Court, he would work

out a weekly scheduled with Mr. Leyner and provide it to Probation on a date set by




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 Counsel has redacted Mr. Leynor’s contact information for purposes of this public
filing but will provide it to the Probation Officer and chambers, should chambers
request it.
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the Probation Officer. Mr. Miller is on GPS monitoring which would enable Probation

to monitor his compliance.

      Wherefore the reasons stated herein and any others that appear to the Court,

Mr. Miller moves the Court to modify his conditions of release so that he may attend

pre-approved neo-natal medical visits with his wife and work on a nearby property

pursuant to a schedule also approved by Probation.

                                      Respectfully submitted,

                                      A. J. KRAMER
                                      FEDERAL PUBLIC DEFENDER

                                             /s/
                                      _____________________________
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